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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

Emmanuel Dunagan, et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:19−cv−00809
                                                              Honorable Jeffrey I
                                                              Cummings
Illinois Institute of Art−Schaumburg, LLC, et
al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 25, 2024:


        MINUTE entry before the Honorable Jeffrey I Cummings: Telephonic motion
hearing held on plaintiffs' unopposed motion for preliminary approval of class action
settlement and related relief [307]. For the reasons stated on the record, plaintiffs&#039;
motion [307] is granted. Plaintiff's counsel shall promptly submit a proposed preliminary
approval order to the Court's courtroom deputy Chez Chambers. Final approval hearing
set for 2/3/25 at 11:00 a.m. in Courtroom 1219. Mailed notice (cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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